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                                   STATEMENT OF FACTS

        Your affiant, Clarke Burns, is a Special Agent assigned to the Federal Bureau of
Investigation Washington Field Office’s Joint Terrorism Task Force. In my duties as a Special
Agent, I am tasked with investigating criminal activity pertaining to international and domestic
terrorism. Currently, I am tasked with investigating criminal activity in and around the Capitol
grounds on January 6, 2021. As a Special Agent, I am authorized by law or by a Government
agency to engage in or supervise the prevention, detection, investigation, or prosecution of a
violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.




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        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                  SHROYER’S February 2020 Deferred Prosecution Agreement

         On January 17, 2020, JONATHON OWEN SHROYER (“SHROYER”) was charged by
an Information in the Superior Court of the District of Columbia, Case No. 2020 CMD 000820,
with a violation of (1) 10 D.C. Code Section 503.16(b)(4) (2001 ed.), Disorderly and Disruptive
Conduct on United States Capitol Grounds, and (2) 10 D.C. Code Section 503.16(b)(7) (2001 ed.),
Obstructing and Impeding Passage on United States Capitol Grounds, based on SHROYER’s
disruption of a House Judiciary Committee meeting on December 9, 2019. During the incident,
SHROYER, who was seated in the audience observing the hearing in the committee room, jumped
up from his seat and shouted in a loud manner while the Judicial Committee was in session. The
disruption occurred while the Chairman of the committee was speaking and caused the Chairman
to hit the gavel and request that order be restored. SHROYER was removed from the room and
placed under arrest.

       On February 25, 2020, SHROYER entered into a Community Service Deferred
Prosecution Agreement (“DPA”) (attached as Exhibit A). Pursuant to the DPA, SHROYER
agreed to abide by certain standard and special conditions during a four-month deferment period
as enumerated in the agreement. As part of the DPA conditions, SHROYER agreed not to violate
any laws and to perform 32 hours of verified community service.

    Due to the nature of the offense, the DPA included the following special conditions for
SHROYER:

           1. The defendant agrees not to utter loud, threatening, or abusive language, or to
              engage in any disorderly or disruptive conduct, at any place upon the United States
              Capitol Grounds or within any of the Capitol Buildings with intent to impede,
              disrupt, or disturb the orderly conduct of any session of the Congress or either
              House thereof, or the orderly conduct within any such building of any hearing
              before, or any deliberations of, any committee or subcommittee of the Congress or
              either House thereof.

           2. The defendant agrees not to parade, demonstrate, or picket within any of the Capitol
              Buildings.

           3. The term “Capitol Buildings” means the United States Capitol, the Senate and
              House Office Buildings and garages, the Capitol Power Plant, all subways and
              enclosed passages connecting 2 or more of such structures, and the real property
              underlying and enclosed by any such structure.

       In addition, the term “United States Capitol Grounds” was defined to include an area
delineated in a map attached to the DPA spanning the Capitol grounds from 3rd Street NW on the
west side of the Capitol building, to 2nd Street SE on the east side of the Capitol building (see


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Exhibit A). SHROYER and his attorney each signed an Acceptance and Attorney’s
Acknowledgement, respectively, for the DPA. As a result of the DPA, SHROYER had special
knowledge of what areas in Washington, D.C. in and around the U.S. Capitol constituted the U.S.
Capitol Grounds.

       As of January 6, 2021, the DPA remained in effect. SHROYER had not completed, nor
reported the completion of, any of the 32 hours of community service as required pursuant to the
DPA. On February 5, 2021, counsel for SHROYER emailed the Government to report that
SHROYER allegedly “has completed his 32 hours of community service.” An attached log
provided by SHROYER’s counsel reported that SHROYER, in fact, performed only 30 hours of
community service beginning on January 19, 2021 through February 4, 2021. Thus, as of January
6, 2021, SHROYER had not completed any hours of community service as required by the DPA,
and as of February 5, 2021, his community service obligation remained incomplete.

                SHROYER’s Involvement in Events Leading up to January 6, 2021

        SHROYER is a Texas-based talk-show host associated with the website Infowars
(www.infowars.com). SHROYER’s show, “The War Room With Owen Shroyer,” streams daily
on the Infowars platform, “banned.video.”

       SHROYER traveled to Washington, D.C. in January 2021, and in advance of January 6,
2021, spoke of stopping the certification of the Electoral College vote. In a video 1 posted to the
Infowars website on January 5, 2021, SHROYER gave an address in Freedom Plaza in
Washington D.C., during which he stated: “Americans are ready to fight. We’re not exactly sure
what that’s going to look like perhaps in a couple of weeks if we can’t stop this certification of the
fraudulent election . . . we are the new revolution! We are going to restore and we are going to
save the republic!”

        In another video 2 posted to the Infowars website on January 5, 2021, SHROYER called
into an Infowars live broadcast and said: “what I’m afraid of is if we do not get this false
certification of Biden stopped this week. I’m afraid of what this means for the rest of the month .
. . Everybody knows election was stolen . . . are we just going to sit here and become activists for
4 years or are going to actually do something about this . . . whatever that cause or course of cause
may be?” 3

         In addition, SHROYER was featured in promotional material circulated by Infowars. One
promotional video urged listeners to “come to the big D.C. marches on the 5th and 6th of January,
I’ll see you there.” 4 The video ended with an edited graphic of SHROYER and others in front of
the Capitol building. That graphic is depicted below:



1
    https://banned.video/watch?id=5ff4aebaa285a02ed04c4d6e.
2
    https://banned.video/watch?id=5ff511bb5a212330029f5a9c.
3
    https://banned.video/watch?id=5ff511bb5a212330029f5a9c.
4
    https://www.banned.video/watch?id=5ff22bb71f93a8267a6432ee.



                                                  3
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                             Figure 1 (SHROYER is circled in red)

                   SHROYER Enters the Restricted Area on January 6, 2021

        According to video footage I have reviewed, on January 6, 2021, SHROYER marched to
the U.S. Capitol from the Ellipse shortly before the U.S. Capitol was breached. One video 5
depicted SHROYER, marching with other individuals, leading a crowd of people in a “1776!”
chant as the host of the Infowars show on which the video was streamed stated, “Alex Jones at this
moment is leading the march toward the Capitol building.” In the same video, SHROYER can be
heard telling the crowd, “today we march for the Capitol because on this historic January 6, 2021,
we have to let our Congressmen and women know, and we have to let Mike Pence know, they
stole the election, we know they stole it, and we aren’t going to accept it!”

       After SHROYER arrived at the Capitol grounds, he entered the restricted area. In the
screenshots below, SHROYER can be seen standing above the crowd on the west side of the
Capitol next to the inauguration stage. 6




5
    https://banned.video/watch?id=5ff634c2f23a18318ceb19f1.
6
    The screenshots are from a video posted on January 9, 2021, but taken on January 6, 2021,
https://banned.video/watch?id=5ff9df636756f238a5bf9124.


                                                4
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                Figure 2 (SHROYER is circled in red)




                Figure 3 (SHROYER is circled in red)




                                 5
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        I have viewed another video 7 posted to Infowars that purports to be video from the body
worn camera of a security detail member from January 6, 2021. The footage depicts SHROYER
within the restricted area on both the west and east sides of the Capitol.

        I am aware of other videos and photos depicting SHROYER in the restricted area of the
U.S. Capitol on January 6, 2021. For example, the FBI received a video from an anonymous tip
that depicts SHROYER at the top of the stairs on the east side of the Capitol. At one point in the
video, the camera zooms in and a voice can be heard exclaiming “well there’s . . . and Owen
Shroyer up there.” A screenshot is attached below:




                             Figure 4 (SHROYER is circled in red)

        SHROYER is publicly known, and appears and identifies himself in numerous videos
posted to Infowars and other sites. I am familiar with SHROYER’s appearance in such videos and
have identified SHROYER in the above-referenced videos, and other videos and images, depicting
SHROYER in the restricted area of the U.S. Capitol on January 6, 2021. In addition, SHROYER
appears to have called into an Infowars broadcast live on January 6, from the Capitol grounds. 8
During the call, SHROYER stated that “we got to the Trump rally at about 8:00 a.m.” and then
around 2:00 p.m. “marched to the Capitol.” SHROYER further stated that he was on “one side of
the Capitol, so we can’t see both sides, but on this side alone there’s probably about 100,000
people. They’ve taken the Capitol grounds, they’ve surrounded the building itself, they’re on the
actual building structure. . . . We literally own these streets right now.”

       Based on the foregoing, your affiant submits that there is probable cause to believe that
SHROYER violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter
or remain in any restricted building or grounds without lawful authority to do; and (2) knowingly,
and with intent to impede or disrupt the orderly conduct of Government business or official

7
   https://banned.video/watch?id=5ffe25bc0d763c3dca0c4da1. This video is dated January 6,
2021, but was posted to Infowars on January 12, 2021.
8
   https://banned.video/watch?id=5ff6148af23a18318ce99233.


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functions, engage in disorderly or disruptive conduct in, or within such proximity to, any restricted
building or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct
of Government business or official functions; or attempts or conspires to do so. For purposes of
Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off, or otherwise
restricted area of a building or grounds where the President or other person protected by the Secret
Service, including the Vice President, is or will be temporarily visiting; or any building or grounds
so restricted in conjunction with an event designated as a special event of national significance.

        Your affiant submits there is also probable cause to believe that SHROYER violated
40 U.S.C. § 5104(e)(2)(D) and (E), which makes it a crime to willfully and knowingly (D) utter
loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place
in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the
orderly conduct of a session of Congress or either House of Congress, or the orderly conduct in
that building of a hearing before, or any deliberations of, a committee of Congress or either House
of Congress; (E) obstruct, or impede passage through or within, the Grounds or any of the Capitol
Buildings.




                                                  _____________________________________
                                                  CLARKE BURNS, SPECIAL AGENT
                                                  FEDERAL BUREAU OF INVESTIGATION

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 19th day of August 2021.

                                           Zia M. Faruqui Digitally signed by Zia M. Faruqui
                                                          Date: 2021.08.19 23:00:10 -04'00'
                                                      ___________________________________
                                                      ZIA M. FARUQUI
                                                      U.S. MAGISTRATE JUDGE




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